Case: 1:13-cv-00146-SSB-KLL Doc #: 238 Filed: 04/11/16 Page: 1 of 1 PAGEID #: 13255




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION



Cristie R. Reynolds, et al.,
      Plaintiffs

v.                                      Case No. 1:13-cv-146

Chipotle Mexican Grill, Inc.,
    Defendant

                               ______________________

                                      ORDER
                               ______________________


  The Court having been advised by the parties that the within action has been settled;

    It is ORDERED that this action is hereby DISMISSED with prejudice, provided
that any of the parties may, upon good cause shown within Fifteen (15) days, reopen
the action if settlement is not consummated. The parties may substitute a more
particularized Order of Dismissal within this same time frame, should they so desire.

   The Court retains jurisdiction over the settlement contract for the purpose of its
enforcement.



Date: April 11, 2016                          s/Sandra S. Beckwith
                                              Sandra S. Beckwith, Senior Judge
                                              United States District Court
